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Case 1:21-cv-00309-ELH Document 342-1 Filed 06/30/25 Pagelof1
IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
WILL COUNTY, ILLINOIS — IN PROBATE
Estate of ) = on
) ros
DAVID JOHN BOSHEA, ) No. — 2025PR000183 Sue Wa
) EOE —
Deceased. ) 2G
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ORDER a3 6 UO
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This matter having come before the Court for Hearing on Ashley Boshea’s Petitionfor
Letters of Administration, Attorney Cindy Johnson present on behalf of Compass Marketing, Inc.
and Attorneys Gregory Jordan and Alexandra Benigni present on behalf of Petitioner, the Court
having jurisdiction and being fully advised in the premises:

IT IS HEREBY ORDERED:

1. Ashley Boshea’s Petition for Letters of Administration is granted. Ashely Boshea will be
appointed as Independent Administrator of the Estate via separate order.

2. Compass Marketing, Inc’s Objection to Ashley Boshea’s Petition for Letters of
Administration is denied, with the Court finding that Compass Marketing, Inc. lacks
standing to object to the appointment of an Independent Administrator in this Estate.

3. This case is continued for status to June 16, 2026 at 9:00 a.m. in Courtroom 2, River Valley
Justice Center, 3208 W. McDonough Street, Joliet, IL 60432.

ENTERED: Loe .
Date: June 17, 2025 aa

Prepared By:

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